                                                          The Honorable Marc L. Barreca
 1
                                                           Hearing Date: March 13, 2024
 2                                                               Hearing Time: 9:00 a.m.
                                                                              Chapter 13
 3                                                        Response Date: March 6, 2024
                                                   Location: VIA EVERETT ZOOMGOV
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 7
 8            IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
10   In Re:
                                                    No. 23-12555-MLB
11
     JORDAN D. BUCKLIN and ZOE L.
12   ZIEGLER,                                       NOTICE AND MOTION FOR
                                                    RELIEF FROM STAY OR IN
13                                    Debtors.      THE ALTERNATIVE FOR
                                                    ADEQUATE PROTECTION
14
15                                       NOTICE
16        Notice is hereby given that on March 13, 2024, at 9:00 a.m. before the Honorable
17   Marc L. Barreca, via EVERETT ZOOMGOV:
18
19        ZOOMGOV ACCESS INFORMATION
          Join ZoomGov Meeting
20        https://www.zoomgov.com/j/1607704823?pwd=TUYxditUQ211OWdNeXVuYlZ
          5bTdBUT09(link is external)
21        Meeting ID: 160 770 4823
22        Passcode: 781136

23
     NOTICE & MOTION FOR RELIEF FROM STAY OR                   DAVIES PEARSON, P.C.
                                                                    ATTORNEYS AT LAW
24   IN THE ALTERNATIVE FOR ADEQUATE                             1498 Pacific Avenue, Suite 520
     PROTECTION                                                        -- P.O. BOX 1657
25                                                              TACOMA, WASHINGTON 98401
     (CASE NO.: 23-12555-MLB)                                     TELEPHONE (253) 620-1500
26   Page 1 of 5                                                  TOLL-FREE (800) 439-1112
                                                                     FAX (253) 572-3052

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 Case 23-12555-MLB     Doc 17     Filed 02/16/24    Ent. 02/16/24 12:14:39         Pg. 1 of 5
            One tap mobile
 1
            +16692545252,,1607704823# US (San Jose)
 2          +16692161590,,1607704823# US (San Jose)

 3          Dial by your location
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            +1 669 216 1590 US (San Jose)
 5          +1 646 828 7666 US (New York)
            +1 551 285 1373 US
 6          Meeting ID: 160 770 4823
            Find your local number:
 7
 8          https://www.zoomgov.com/u/aCksE5Pde
            Nuvision Credit Union will present its Motion for Relief From Stay or, in the
 9
     Alternative, for Adequate Protection of its security interest in a 2020 Hyundai Palisade,
10
     VIN #KM8R4DHE6LU094624. Any response must be filed and served by the response
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     date of March 6, 2024. If no response is filed within the time allowed, the Court may in
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     its discretion grant the motion prior to the hearing without further notice.
13
                                            MOTION
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            Nuvision Credit Union (“hereinafter “Creditor”), moves the Court for an order
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     terminating the automatic stay, pursuant to 11 U.S.C. Sections 362 (d)(1) and 362 (d)(2),
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     and permit it to take any and all actions necessary to repossess and to sell the following
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     described personal property: 2020 Hyundai Palisade, VIN #KM8R4DHE6LU094624
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            Creditor also moves the Court that enforcement of this order not be stayed for
19
     fourteen (14) days pursuant to BR 4001, given that the vehicle is likely to continue to
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     depreciate in value, and it is not believed that any other party will have an objection to
21
     such relief being granted.
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23
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 Case 23-12555-MLB        Doc 17     Filed 02/16/24     Ent. 02/16/24 12:14:39          Pg. 2 of 5
 1          This motion is made on the grounds that (1) the debtor is delinquent on his
 2   payments to Creditor under a Retail Installment Sale Contract; (2) the interest of Creditor
 3   in the vehicle is not adequately protected; (3) there is likely no equity in the debtors’
 4   property; and (4) it is not necessary for an effective reorganization.
 5          Obligation and Collateral.     Debtor, Jordan Bucklin, signed a Retail Installment
 6   Contract – Simple Finance Charge (the “Contract”) on February 8, 2020. Creditor is the
 7   holder of the Contract, and the legal owner on the Certificate of Title for a 2020 Hyundai
 8   Palisade, VIN #KM8R4DHE6LU094624.
 9          Status of Contract and Balance Owing.         The debtor has failed to make the
10   total monthly payments of $723.88 since November, 2023. A principal payment was
11   made in November, 2023, but no further payments have been made. The principal
12   balance owing on the Contract as of the petition date, December 30, 2023, was
13   $29,070.50. However, there are also late charges, f ees and costs. In addition, interest
14   continues to accrue at the rate of $5.37 per diem.
15          Value. Relevant industry resources indicate the vehicle’s retail value is between
16   $23,300.00 and $32,575.00. Each day the debtor retains possession of the vehicle, the
17   vehicle’s value will continue to decrease, especially if the debtors are continuing to drive
18   and utilize the vehicle.
19          Possession.     Debtors have indicated that it will relinquish the vehicle to
20   Creditor. However, to date, Debtors have failed to do so and have failed to surrender the
21   vehicle.
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 Case 23-12555-MLB         Doc 17     Filed 02/16/24     Ent. 02/16/24 12:14:39          Pg. 3 of 5
 1          This Motion is based on the Declaration of Michelle Renee Tasker-Bell, a
 2   Bankruptcy Specialist of Creditor, and the records and files herein. A proposed Order is
 3   attached.
 4          DATED this 16th day of February, 2024.
 5
                                         DAVIES PEARSON, P.C.
 6
 7
 8                                              s/ Christopher J. Marston
                                         CHRISTOPHER J. MARSTON, WSB #30571
 9
                                         Attorneys for Nuvision Credit Union
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 Case 23-12555-MLB        Doc 17    Filed 02/16/24    Ent. 02/16/24 12:14:39          Pg. 4 of 5
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 5                               CERTIFICATE OF SERVICE

 6           I hereby certify that on this 16th day of February, 2024, I electronically filed the
     foregoing with the Clerk of the Court using the CM/ECF system which will send
 7   notification of such filing to the parties of record.
 8
 9                                                        s/ Christopher J. Marston
                                                   CHRISTOPHER J. MARSTON,
10                                                 WSB #30571
                                                   Attorneys for Nuvision Credit Union
11
                                                   Davies Pearson, P.C.
12                                                 P. O. Box 1657
                                                   Tacoma WA 98401-1657
13                                                 Telephone: 253-620-1500
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